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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF TENNESSEE

 

EASTERN DIVISION

CUSTOM INTERIORS & SUPPLY )
COMPANY, INC., )
)
Plaintiff, )
)

v. ) NO. 04-1158 'I`/An
)
ADVANCED COMPONENTS )
SPECIALISTS, INC., )
)
Defendant. )

 

ORDER GRANTING MOTION TO AMEND COMPLAINT

 

Before the Court is Plairitiff`s Motion to Amend Compiaint filed on July 18, 2005. For
the reasons set forth below, the Motion is GRAN'I`ED.

Plaintift` has requested leave of court to amend its Complaint to assert additional causes
of action and damages that have arisen since the original Complaint Was filed. A pleading may
be amended “oniy by leave of court . . . and leave shall befreely given When justice so requires.”
Fed. R. Civ. P. lS(a) (emphasis added). “ln deciding Whether to allow an amendment, the court
should consider the delay in filing, the lack of notice to the opposing party, bad faith by the
moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice to
the opposing party, and futility of amendment,” Perkins v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001). After review, the Court concludes that Plaintiff’ s proposed

amendments are not prejudicial and should be allowed

Thls document entered on the docket sheet in compliance
with Rule 58 and.’or_'!Q (a) FRCP on

\‘f)

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Furthermore, Defendant failed to file a response to the motion as required by Local Rule
7.2(a)(2). “Failure to timely respond to any motion, other than one requesting dismissal of a
claim or action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2).
As such, for good cause shown and because Defendant did not respond, the Motion is

GRANTED. Plaintiff shall file its amended Complaint Within 11 days of entry of this Order.

S//Z;MJ 411/ad

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT lS S() ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 1:04-CV-01158 vvas distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

